                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 GAMCO ASSET MANAGEMENT, INC., on
 behalf of itself and all others similarly situated,      Case No. 4:19-cv-03363

                                    Plaintiff,
                                                          CLASS ACTION
 v.
                                                          JURY TRIAL DEMANDED
 MARK MCCOLLUM, CHRISTOPH BAUSCH,
 KARL BLANCHARD, WILLIAM
 MACAULAY, MOHAMED AWAD,
 ROXANNE DECYK, JOHN GASS, EMYR
 PARRY, FRANCIS KALMAN, DAVID KING,
 GUILLERMO ORTIZ, ANGELA MINAS,
 BERNARD DUROC-DANNER, KRISHNA
 SHIVRAM, DAVID BUTTERS, ROBERT
 MOSES, ROBERT RAYNE and J.P. MORGAN
 SECURITIES LLC,

                                     Defendants.


  DECLARATION OF ANDREW J. ENTWISTLE IN SUPPORT OF GAMCO ASSET
   MANAGEMENT, INC’S MOTION FOR APPOINTMENT AS LEAD PLAINTIFF
         AND APPROVAL OF ITS SELECTION OF LEAD COUNSEL

I, Andrew J. Entwistle, admitted to practice law in the State of Texas and before this Court,

hereby declare pursuant to 28 U.S.C. § 1746 as follows:

       1.       I am a partner in the law firm of Entwistle & Cappucci LLP, counsel for GAMCO

Asset Management, Inc. (“GAMCO”), the proposed lead plaintiff in the above-captioned action.

       2.       I make this Declaration in support of the GAMCO’s Motion for Appointment as

Lead Plaintiff and Approval of its Selection of Lead Counsel. I have personal knowledge of the

matters stated herein and, if called upon, I could and would competently testify thereto.

       3.       Attached hereto as “EXHIBIT A” is a true and correct copy of GAMCO’s sworn
certification setting forth its transactions in Weatherford common stock during the Class Period.

       4.      Attached hereto as “EXHIBIT B” is a true and correct copy of a chart reflecting

the calculation of losses on a first-in-first-out (i.e. FIFO) basis for GAMCO in Weatherford

common stock during the Class Period, prepared by counsel.

       5.      Attached hereto as “EXHIBIT C” is a true and correct copy of a chart reflecting

the calculation of losses on a last-in-first-out (i.e. LIFO) basis for GAMCO in Weatherford

common stock during the Class Period, prepared by counsel.

       6.      Attached hereto as “EXHIBIT D” is a true and correct copy of the Notice of

pendency of class action published on Business Wire on September 6, 2019.

       7.      Attached hereto as “EXHIBIT E” is a true and correct copy of Entwistle &

Cappucci LLP’s firm resume.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed this 5th day of November 2019.




                                                    By:     /s/ Andrew J. Entwistle
                                                            Andrew J. Entwistle
                                CERTIFICATE OF SERVICE

       I certify that on this 5th day of November 2019, I caused the foregoing to be

electronically filed with Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the email addresses denoted on the Electronic Mail Notice List.


                                            /s/ Andrew J. Entwistle
                                            Andrew J. Entwistle
